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                               UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT
                        1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                               May 15, 2024

                                           ___________________

                                                 No. 24-1406
                                            (8:20-cv-03581-ADC)
                                           ___________________

        MICHAEL T. PARKER; PATRICE PARKER

                     Plaintiffs - Appellants

        and

        ALICE MEJIA

                     Proposed Intervenor/Plaintiff - Appellant

        v.

        NEWREZ LLC, d/b/a Shellpoint Mortgage Servicing

                     Defendant - Appellee

        and

        GOLDMAN SACHS MORTGAGE COMPANY LIMITED PARTNERSHIP

                     Defendant
                                     ____________________________

                                      AMENDED CAPTION NOTICE
                                     ____________________________

        TO: Counsel and Parties

        The caption of this appeal has been amended as shown above. If additional corrections or
        modifications are needed for the caption, please file a motion to amend the caption.

        Anisha Walker, Deputy Clerk
        804-916-2704
